          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
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                        No. 1D2023-2922
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JOSHUA D. DAY,

    Appellant,

    v.

DENNIS R. STEWART and MELVA
L. STEWART,

    Appellees.
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On appeal from the Circuit Court for Bay County.
James J. Goodman, Jr., Judge.


                         August 21, 2024

PER CURIAM.

    The Court dismisses the appeal as untimely filed. See Fla. R.
App. P. 9.110(b).

     To the extent Appellant seeks belated appeal, the Court
denies such relief for lack of jurisdiction. See Perez v. Jones, 174
So. 3d 1088 (Fla. 1st DCA 2015) (explaining that this Court does
not have the authority to grant belated appeal in a civil
proceeding).

ROBERTS, BILBREY, and M.K. THOMAS, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Joshua D. Day, pro se, Appellant.

No appearance for Appellees.




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